  4:07-cv-03166-RGK-DLP Doc # 44 Filed: 12/19/07 Page 1 of 1 - Page ID # 271




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


EUGENE BRUNO and JOYCE                   )          4:07CV3166
BRUNO, as permanent guardians of         )
KIMBERLY WARD,                           )
                                         )
                   Plaintiffs,           )          JUDGMENT
                                         )
      v.                                 )
                                         )
ADELEKE E. BADEJO, M.D.,                 )
S.L. SMITH, M.D, and                     )
GOOD SAMARITAN HEALTH                    )
SYSTEMS, INC., a/k/a GOOD                )
SAMARITAN HOSPITAL,                      )
                                         )
                   Defendants.           )



      Pursuant to the parties’ joint stipulation (filing 43) and Fed. R. Civ. P. 41(a),

       IT IS ORDERED that this action is dismissed with prejudice, each party to pay
their own costs.

      December 19, 2007.                      BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
